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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

NIPPON SHINYAKU CO., LTD.,                )
                                          )
            Plaintiff,                    ) C.A. No. 21-1015 (JLH)
                                          )
      v.                                  )
                                          )
SAREPTA THERAPEUTICS, INC.,               )
                                          )
            Defendant.                    )
 SAREPTA THERAPEUTICS, INC. and THE )
                                          )
 UNIVERSITY OF WESTERN AUSTRALIA,
                                          )
                                          )
            Defendant/Counter-Plaintiffs, )
                                          )
      v.                                  )
                                          )
 NIPPON SHINYAKU CO., LTD.                )
 and NS PHARMA, INC.                      )
                                          )
            Plaintiff/Counter-Defendants. )


                        STIPULATION OF PARTIAL DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Nippon Shinyaku Co.,

Ltd. (“Nippon Shinyaku”) and defendant Sarepta Therapeutics, Inc. (“Sarepta”) (collectively, the

“Parties”) hereby stipulate to the dismissal with prejudice of Claim I (Breach of Contract) of

Nippon Shinyaku’s Second Amended Complaint (D.I. 86).
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Respectfully submitted,

 MORGAN, LEWIS & BOCKIUS LLP                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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 Nippon Shinyaku Co., Ltd. and NS Pharma,       mdellinger@morrisnichols.com
 Inc.
                                                Counsel for Defendant and Counter-Plaintiff
                                                Sarepta Therapeutics, Inc.
Dated: July 1, 2024


SO ORDERED this ___ day of July, 2024


                                                                ________________________
                                                                Honorable Jennifer L. Hall
                                                                U.S. District Court Judge
